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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

10    UNITED STATES OF AMERICA,
11                    Plaintiff,
                                                                   Case No. CR06-5528FDB
12            v.
                                                                   ORDER DENYING DEFENDANT’S
13    TIGRA ROBERTSON,                                             MOTION FOR NOTICE RE
                                                                   GOVERNMENT’S INTENTION TO
14                    Defendant.                                   USE SPECIFIC EVIDENCE
15
            Defendant Robertson moves for notice of the Government’s intention to use specific
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     evidence at trial; that is that the Government be ordered “to provide notice of its intent to use any
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     specific evidence arguably subject to suppression.” Defendant argues that he is entitled to this notice
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     in order that he may bring any necessary pretrial suppression motions with respect to the evidence.
19
     Additionally, while acknowledging that Rule 12(b)(4)(b) refers only to evidence that the Government
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     intends to use in its case-in-chief, this Court should use its inherent authority to order the
21
     Government to disclose what evidence it intends to use in rebuttal.
22
            The Government responds that it has met its obligations by (a) providing discovery that
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     meets and exceeds its legal obligations (including disclosure of search warrants, search warrant
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     returns, and reports, inventories, and photographs of seized evidence); and (b) by filing an exhibit list
25

26   ORDER - 1
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 1   that identifies all of the physical, documentary, and electronic evidence it plans to offer at trial. The

 2   Government argues that it is not required it is not required to do a legal analysis to identify which

 3   items of evidence are “arguably” subject to suppression, that this is defense counsel’s job.

 4           Defendant’s motion must be denied, as the Government has provided not only voluminous

 5   discovery in this case , but an exhibit list identifying the evidence that it plans to offer at trial. The

 6   Government need not do more pursuant to Fed. R. Crim. P. 12(b)(4)(B) and identify that evidence

 7   that is “arguably” subject to suppression.

 8           ACCORDINGLY, IT IS ORDERED: Defendant’s Motion for Notice Re Intention To Use

 9   Specific Evidence [Dkt. # 234] is DENIED.

10           DATED this 7th day of August, 2007.

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                                             A
                                             FRANKLIN D. BURGESS
                                             UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
